UNITED STATES OF AMERICA DISTRICT SOUTHERN DISTRICT OF TEXAS

JURY TRAIL
ANTHONY HENDERSON
ARTS & ARTISTS INC.

Plaintiffs Case No.

Vv.

NFL COMMISSIONER ROGER GOODELL
OWNERS

Defendants Consolidated Lawsuit

TO THE HONORABLE JUDGE OF SAID COURT:

COME NOW ANTHONY HENDERSON AND ARTS & ARTISTS INC. the plaintiff in the
above entitled and numbered cause and respectfully moves this court grant this civil consolidated
lawsuit against the defendants owners of the NFL, Bill Bidwill, Arthur Blank, Steve Bisciotti,
Kim & Terry Pegula, Jerry Richardson, Virginia Halas McCaskey, Mike Brown, Jimmy Haslam,
Robert Wood Johnson IV, Carol & Mark Davis, Jeffery Lurie & Christian Wiess Lurie, Art
Rooney II, Jed York, Paul Allen, Bryan Glazer, John Mara, Steve Tisch, Susie Smith, Amy
Strunk, Susan Lewis, Barclay Adam, Kenneth Adams, Dan Synder, Jerry Jones, Pat Bowlne,
Martha Ford, Green Bay Packer Inc., Robert C. McNair, Jim Irsay, Shahid Khan, Clark Hunt,
Alex Spanos, Stan, Kroenke, Stephen M. Ross, Zygi Wilf, and Robert Kraft.

1.
The case of Anthony Henderson Case No: 4:17-cv-00 100 Anthony Henderson & Arts & Artists
Inc. et al v. Nike, NFL, NBA, NCAA, MSL, Wal-Mart, Adidas, Citi-Trend, Under Amour, And
1, Family Dollar et al is presently at the default stage of this case without none of the defendant
responding or reply the plaintiff lawsuit or settlement terms and conditions. The plaintiff demand
several time that the defendant no longer televise his company product design concept on the
NFL football broadcasts. The plaintiff also filed sanctions against all of the defendants.

2.
Presently | the plaintiff awaits the Default Hearing to close the case. The defendants are
presently in contempt of court for not providing disclosure to the plaintiff, to the court, and to
Judge Sim Lake in which was ordered by the court. I discovered on Sunday October 29, 2017
while watching a NFL football television broadcast I notice NFL has refuse to remove the Nike
the logo from thigh location on their football uniform after and demanding and asking them since
December 1, 2015 and they continue to engage in Copyright Infringement, Intellectual Property
Theft (The Stealing Of Ideas, ), Conspiracy, and Racketeering.
3.
My company have no other choice but to hold NFL Commissioner Roger Goodell and every
NFL owners, financially, and criminally responsible and accountable for the acts racism and
economics damages against my company over and over again. The defendants not only continue
to copyright infringe on company product design concept. They continue to aggravated the
situation and the lawsuit by stealing my company Number Hoodie Design Concept without once
again having a copyright licensing agreement put in place and once again not compensating
company for its Hoodie Number design concept. Also I report these incident to Houston Police
Department. My company position in the Disclosure Settlement Terms and Conditions and
Default Summation. My company do not want to do business with the present management
under the leadership of NFL Commissioner Roger Goodell.

4.
My company position by the NFL televising my company Hoodie Number Design concept on
their television broadcast was a spiteful racist act of retaliation against my company product,
product image, and personally racist attack against and my company. The NFL who has America
history of breaking racial barrier as a legacy American corporation and can’t believe they are
acting and engaging in these type of racist discriminatory tactics. When they have a football field
filled with black players who have model my company Number Hoodie Design Concept and the
Nike/NFL Uniform with Nike brand on it thigh on last Sunday televised game. I don’t know
what is wrong with the NFL who continue want to inflame this legal grievance and create
additional lawsuit of fine American Sport Industry. It appear that the NFL and its athletes are
more interested and is more focus in making a football Hip-Hop fashion statement than playing
football because their illegal focus on my company Hip-Hop Fashion design concept.

5.
Personally, me and my company regret that we have to file another lawsuit against NFL because
they will not adhere to God Law, Man Law, and Law of Land because in the United States of
America it is against God Law, Man Land, and the Law of the Land to steal. The NFL has
violated my company economic rights and practiced their form of racism and economic
discrimination against my company again and again. But not only that under the present
leadership of NFL Commissioner Roger Goodell they have disrespected and violated my humans
rights, my civils rights, my constitutional rights and the economic rights of my corporation. I
filed this because I don’t think the NFL under the present leadership will listen nor obey laws
against copyright infringement and intellectual property theft in the United States Of America
and we are forced to charge them again with Racketeering my company design concept,
copyright infringing, again engaging intellectual property theft against my company, product
concept development fraud, and conspiracy against my company.

6.
Because of my poverty and because could not find any legal representation I pray the court will

allow me to file this petition and lawsuit In Pro Propria Persona. Wherefore, the plaintiff pray
that court grant this lawsuit and rule in the favor of the plaintiff against each defendant with all
prejudice in the amount of $25 Million Dollars per defendant for Copyright Infringement,
Intellectual Property Theft, Conspiracy, Racketerring, Civil Rights, Consitutional Rights, and
Human Rights violation, damges, puntiative damage for corporate conspiracy, corporate
ITEMIZE CIVIL AND CRIMINAL CHARGES
Anthony Henderson & Arts & Artists vs. NFL Commissioner Roger Goodell

Racketeering

Copyright Infringement

Intellectual Property Theft

Conspiracy

Concept Product Development Fraud
Libel

Malicious Intent

Malice

Mental Anguish

10. Present Mental Anguish

11. Past Mental Anguish

12. Past, Present and Future Mental Anguish
13. Pain and Suffering

14. Present Pain and Suffering

15. Past Pain and Suffering

16. Future Pain and Suffering

17. Past, Present, and Future Pain and Suffering
18. Neglect

19. Inconvenience

CO RPNAARWN >

Total Charges

NFL

C/O Commissioner Roger Goodell

345 Park Avenue

New York, NY. 10154

Tel: 212-293-3050 Fax Letter: 1-212-681-7599

$25,000,000.00

$25,000,000.00
sabotage, corporate espionage and lossess for the plaintiff company Arts & Artists Inc. and
C.E.O Anthony Henderson who has suffered these civil and criminal charges gRP

day of _Novemeber 2017.

ANTHONY HENDERSON PRO SE

SIGNED on November 3 2017

SUBSCRIBED AND SWORN TO before on November 3_, 2017

DAVID J. BRADLEY Clerk
UNITED STATES DISTRICT CLERK

By:
Al Unitey States Clerk of Court

ANTHONY HENDERSON PRO SE

3607 Ninock

Shreveport, La. 71108

Cell: 832-815-7006 Phone: 318-631-8707

Franchise

Owner

Year

Arizona Cardinals Bill Bidwill 1972
Atlanta Falcons Arthur BlankT' 2004
Baltimore Ravens Steve Bisciottit' 2004

! Buffalo Bills Kim and Terry Pegula 2014

Carolina Panthers Jerry Richardson? 1993
Chicago Bears Virginia Halas McCaskeytt 1983
Cincinnati Bengals Mike Brown}? 1991

| Cleveland Browns Jimmy Haslam 2012
Dallas Cowboys Jerry Jones 1989
Denver Broncos Pat Bowlent® (Bowlen Family Trust) 1984
Detroit Lions Martha Fordf" 2014
Green Bay Packers Green Bay Packers, Inc. (governed by a Board of Directors)° 1923
Houston Texans Robert C. McNairt? 1999
Indianapolis Colts Jim Irsayt ' 1997

Franchise

Owner

Year

2012

Jacksonville Jaguars Shahid Khan
Kansas City Chiefs Clark Huntt° 2006
Los Angeles Chargers Alex Spanost and family*® 1984
Los Angeles Rams Stan Kroenke’ 2010
Miami Dolphins Stephen M. Rosst i 2008
Minnesota Vikings Zygi Wilf ~ 2005
New England Patriots Robert Kraft 1994
New Orleans Saints Tom Benson 1985
New York Giants Stove Tisch (50%) 2005
New York Jets Robert Wood Johnson IV : 2000
be Rama Carol and Mark Davis (mother and son) t+ 2011
ohiladetoia Eagles Jeffrey Lurie and Christina Weiss Lurie 1994
Pittsburgh Steelers Art Rooney II* (60%) and family (12%)** 2 2017
Jed Yorkt' | 2009

San Francisco 49ers

Franchise

Owner

Seattle Seahawks

Tampa Bay
Buccaneers

Paul Allen

Bryan Glazer, Edward Glazer, Joel Glazer and Darcie
Kassewitzt

Tennessee Titans

Susie Smith, Amy Strunk, Susan Lewis ° Barclay and Kenneth
Adams IV+¥‘*

_ Washington Redskins

Dan Snydert

Year

_ 1997

2014

2013
UNITED STATES OF AMERICA SOUTERN DISTRICT COURT OF TEXAS

JURY TRAIL

ANTHONY HENDERSON CASE NO:
ARTS & ARTISTS INC.

VS.

NFL COMMISSIONER

ROGER GOODELL

CERTIFICATE OF SERVICE

I hereby certify that true and correct copy of the above ANTHONY HENDERSON AND
ARTS & ARTISTS INC. in the case of Anthony Henderson and Arts & Artists Inc. vs. NFL,
A letter thereon was sent by regular mail on 3°? _ day November _, 2017.

Respectively Submitted By:

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Anthony Henderson Pro Se

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